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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                       :
                           Plaintiff,           :
                                                :             CIVIL ACTION
                    v.                          :             No. 23-299
                                                :
HAVERFORD COLLEGE,                              :
                           Defendant.           :



                                        ORDER

      This 14th day of February, 2023, for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that Plaintiff’s Motion for a Temporary Restraining Order

and Preliminary Injunction, ECF 4, is DENIED.


                                                 /s/ Gerald Austin McHugh
                                                United States District Judge
